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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                        PANAMA CITY DIVISION


UNITED STATES OF AMERICA

v.                                                 Case No. 5:23cr14/TKW

ASHLEY MARIE ALBERT
______________________________________/

                    ACCEPTANCE OF PLEA OF GUILTY

       Pursuant to the Report and Recommendation of the United States Magistrate

Judge, to which there have been no timely objections, the plea of guilty of the

Defendant, ASHLEY MARIE ALBERT, to counts One, Three, Four, and Six of the

indictment is hereby ACCEPTED. All parties shall appear before this Court for

sentencing as directed.

       DONE and ORDERED this 16th day of October 2023.

                                T. Kent Wetherell, II
                               T. KENT WETHERELL, II
                               UNITED STATES DISTRICT JUDGE
